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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



PARS EQUALITY CENTER et al.,                           Civil Action No. 1:17-cv-255

               Plaintiffs,                             Hon. Tanya S. Chutkan

               v.

DONALD J. TRUMP et al.,

               Defendants.



                PROPOSED ORDER GRANTING PLAINTIFFS’ MOTION
                       FOR PRELIMINARY INJUNCTION

       The Court, having considered Plaintiffs’ Motion for Preliminary Injunction (“Motion”)

and any opposition thereto, and finding that good cause appears, orders as follows:

       The Motion is hereby GRANTED.

1.     Defendants are hereby preliminarily restrained and enjoined from:

               (a) enforcing or taking any steps to effectuate §§ 2(c)-(e), 3, 6(a), and 6(c) of

       Executive Order No. 13,780, “Protecting the Nation from Foreign Terrorist Entry into the

       United States” (“March 6 Executive Order”), including at any United States border or

       point of entry;

               (b) applying §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive Order to

       deny, revoke, delay, suspend, restrict, or cancel any immigrant or nonimmigrant visa or

       refugee status;

               (c) applying §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive Order to

       delay, suspend, or cease immigrant or nonimmigrant visa application or issuance

       processing;
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            (d) applying §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive Order to

     delay, suspend, or cease refugee applicant processing;

            (e) applying §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive Order to

     delay, deny, or suspend entry or admission to any person;

            (f) applying §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive Order to

     prohibit any person from applying for or receiving any benefit under the Immigration and

     Nationality Act of 1965 if receipt is otherwise lawful, including an immigrant or

     nonimmigrant visa, lawful permanent resident, asylum, or refugee status, or other

     adjustment of status;

            (g) denying any person subject to the March 6 Executive Order access to legal

     counsel of his or her choice;

            (h) applying Sections §§ 2(c)-(e), 3, 6(a), and 6(c) of the March 6 Executive

     Order to instruct any airline or other common carrier to deny passage to any person; and

            (i) imposing or threatening to impose any financial penalty on any airline or other

     common carrier for allowing passage to any person covered by §§ 2(c)-(e), 3, 6(a), and

     6(c) of the March 6 Executive Order;

2.   Defendants are further ordered to:

            (a) within 10 days, submit written guidance for employees, contractors, and

     agents of U.S. Customs and Border Protection and any other U.S. government entity

     necessary to ensure full and timely compliance with all terms of this Order to the Court

     for its review and approval, and, when such approval is granted, immediately issue such

     guidance;
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                (b) immediately rescind any guidance, directive, memorandum or statement

       interpreting or applying the March 6 Executive Order that conflicts with any term of this

       Order;

                (c) immediately upon its issuance, prominently post a copy of the written

       guidance required under paragraph 2(a) on government websites, including state.gov and

       uscis.gov;

                (d) within 10 days, update all relevant public guidance, documentation, and

       FAQs to reflect the terms of this Order; and

                (e) require Defendants to reissue within 10 days any and all visas physically

       cancelled visas as a result of Executive Order, No. 13,769, issued January 27, 2017, or

       the March 6 Executive Order (collectively, “the Executive Orders”), to issue any visas

       that were approved but not issued as a result of the Executive Orders, and to reschedule

       any consular appointments or interviews cancelled as a result of the Executive Orders.



IT IS SO ORDERED.



Dated: April __, 2017                                 ____________________________
                                                            U.S. DISTRICT JUDGE
